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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PNC EQUIPMENT FINANCE, LLC,                      :
     Plaintiff,                                  :
                                                 :                         CIVIL ACTION
       v.                                        :                         NO. 19-4708
                                                 :
DOUG PAK, et al.,                                :
    Defendants.                                  :
                                            ORDER

       AND NOW, this 21st day of October, 2020, upon consideration of Defendants’ Motion to

Dismiss (ECF No. 7), Plaintiff’s opposition thereto (ECF No. 11), and the allegations contained in

the Complaint (ECF No. 1), it is hereby ORDERED that Defendants’ Motion is DISMISSED

WITHOUT PREJUDICE.

                                                            BY THE COURT:




                                                            /s/ C. Darnell Jones, II
                                                            C. DARNELL JONES, II          J.
